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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                           Case No. 11-62278-CIV-COHN/SELTZER
 BILL TAYLOR,

              Plaintiff,
 v.

 HOLLYWOOD SARAS, INC., a Florida
 Corporation, BEDFORD AVENUE
 REALTY, INC., a Florida Corporation,

            Defendants.
 ________________________________/

                     ORDER APPROVING CONSENT DECREE AND
                        DISMISSING CASE WITH PREJUDICE

       THIS CAUSE is before the Court upon the Motion to Approve Consent Decree

 and to Dismiss with Prejudice [DE 17]. Having considered the motion and reviewed the

 Consent Decree [DE 17-1], and being otherwise advised in the premises, it is hereby

       ORDERED AND ADJUDGED as follows:

       1.     The Motion to Approve Consent Decree and to Dismiss with Prejudice

              [DE 17] is GRANTED;

       2.     The Consent Decree [DE 17-1] is APPROVED;

       3.     All claims in the above-captioned action are DISMISSED with prejudice;

       4.     Each party shall bear its own attorney’s fees and costs except as detailed

              in the Consent Decree;

       5.     The Court retains jurisdiction to enforce the Consent Decree;

       6.     Any pending motions are DENIED as moot, and the Clerk of Court is

              directed to CLOSE this case.

       DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

 Florida, on this 18th day of January, 2012.




 Copies provided to:
 Counsel of record via CM/ECF
